Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 1 of 57 Page ID
                                 #:16890




                        EXHIBIT A

                         [PUBLIC]
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 2 of 57 Page ID
                                 #:16891
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 3 of 57 Page ID
                                 #:16892
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 4 of 57 Page ID
                                 #:16893
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 5 of 57 Page ID
                                 #:16894
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 6 of 57 Page ID
                                 #:16895
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 7 of 57 Page ID
                                 #:16896
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 8 of 57 Page ID
                                 #:16897
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 9 of 57 Page ID
                                 #:16898
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 10 of 57 Page ID
                                 #:16899
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 11 of 57 Page ID
                                 #:16900
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 12 of 57 Page ID
                                 #:16901
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 13 of 57 Page ID
                                 #:16902
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 14 of 57 Page ID
                                 #:16903
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 15 of 57 Page ID
                                 #:16904
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 16 of 57 Page ID
                                 #:16905
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 17 of 57 Page ID
                                 #:16906
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 18 of 57 Page ID
                                 #:16907
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 19 of 57 Page ID
                                 #:16908
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 20 of 57 Page ID
                                 #:16909
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 21 of 57 Page ID
                                 #:16910
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 22 of 57 Page ID
                                 #:16911
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 23 of 57 Page ID
                                 #:16912
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 24 of 57 Page ID
                                 #:16913
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 25 of 57 Page ID
                                 #:16914
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 26 of 57 Page ID
                                 #:16915
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 27 of 57 Page ID
                                 #:16916
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 28 of 57 Page ID
                                 #:16917
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 29 of 57 Page ID
                                 #:16918
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 30 of 57 Page ID
                                 #:16919
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 31 of 57 Page ID
                                 #:16920
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 32 of 57 Page ID
                                 #:16921
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 33 of 57 Page ID
                                 #:16922
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 34 of 57 Page ID
                                 #:16923
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 35 of 57 Page ID
                                 #:16924
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 36 of 57 Page ID
                                 #:16925
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 37 of 57 Page ID
                                 #:16926
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 38 of 57 Page ID
                                 #:16927
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 39 of 57 Page ID
                                 #:16928
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 40 of 57 Page ID
                                 #:16929
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 41 of 57 Page ID
                                 #:16930
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 42 of 57 Page ID
                                 #:16931
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 43 of 57 Page ID
                                 #:16932
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 44 of 57 Page ID
                                 #:16933
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 45 of 57 Page ID
                                 #:16934
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 46 of 57 Page ID
                                 #:16935
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 47 of 57 Page ID
                                 #:16936
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 48 of 57 Page ID
                                 #:16937
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 49 of 57 Page ID
                                 #:16938
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 50 of 57 Page ID
                                 #:16939
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 51 of 57 Page ID
                                 #:16940
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 52 of 57 Page ID
                                 #:16941
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 53 of 57 Page ID
                                 #:16942
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 54 of 57 Page ID
                                 #:16943
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 55 of 57 Page ID
                                 #:16944
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 56 of 57 Page ID
                                 #:16945
Case 8:21-cv-00338-CJC-ADS Document 284-1 Filed 04/19/24 Page 57 of 57 Page ID
                                 #:16946
